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  1   CHANEL KATIRAIE, Esq. SBN 315825
      AARON G. FILLER, Esq. SBN 302956
  2   Tensor Law, P.C.
      2716 Ocean Park Blvd, #3082
  3
      Santa Monica, California 90405
  4   Tel: (310) 450-9689
      Fax: (310) 496-3176
  5
      Attorneys for Plaintiff
  6    Paz De La Huerta
  7
                      UNITED STATES DISTRICT COURT
  8
            CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
  9
      PAZ DE LA HUERTA,                          Case No. 2:19-cv-02183
 10
                                                 Assigned for all purposes to:
 11                   Plaintiff,                   Hon. Otis D. Wright II
              vs.
 12
 13   HARVEY WEINSTEIN, an individual;
      THE WEINSTEIN COMPANY, a
                                               PLAINTIFF’S SUPPLEMENTAL BRIEF
 14   Delaware LLC; FOUR SEASONS               AS TO CONSENT FOR REMOVAL
      HOTELS, LTD, a Canadian Corporation ;
 15   BURTON WAY HOTELS, LTD, a                Hearing Date: April 22, 2019
 16
      California Limited Partnership; BURTON   Time:
      WAY HOTELS LLC, a Delaware LLC; and      Courtroom:
 17   DOES 1 to 25, inclusive,
                                               Complaint Filed: November 12, 2018
 18                   Defendants.
                                               FAC Filed:       February 4, 2019
 19                                            Trial Date:      Not Yet Set
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                     PLAINTIFF’S SUPPLEMENTAL BRIEF AS TO CONSENT FOR REMOVAL
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  1           SUPPLEMENTAL BRIEF AS TO CONSENT FOR REMOVAL
  2
  3          1. Background
  4          As Plaintiff has argued in her Motion to Remand and in Reply to the Response of
  5   Defendant Four Seasons to Plaintiff’s Motion for Remand, the Notice of Removal was
  6   untimely, being filed 31 days after Defendant Four Seasons was served with the First
  7   Amended Complaint for the second time. Additionally, Four Seasons failed to obtain
  8   consent of Defendant Harvey Weinstein, nor did Four Seasons even assert that it had
  9   obtained consent.
 10          Defendant Four Seasons incorrectly asserts diversity jurisdiction. Four Seasons
 11   shows in its Notice of Removal that it was aware that Harvey Weinstein had been
 12   properly joined and served so that Four Seasons erroneously asserted diversity
 13   jurisdiction. Four Seasons errs in this because there must be complete diversity, e.g. all of
 14   the defendants must be non-California defendants, and it is not sufficient that only one of
 15   the defendants be a non-California defendant to establish diversity jurisdiction.
 16          Harvey Weinstein was properly served on November 30, 2018 (see Exhibit A).
 17   Plaintiff was preparing to file a default for failure to appear, but was contacted by counsel
 18   for Weinstein, on February 18, 2019 and Plaintiff then granted an extension of time to
 19   respond through March 15, 2019 (see Exhibit B) and served with the FAC on February
 20   20, 2019. Then on March 11, 2019, counsel for Weinstein again contacted Plaintiff and
 21   was granted a further extension to March 29, 2019 (see Exhibit C). Further, On March 25,
 22   2019, counsel for Weinstein emailed a third time asking for a further extension until ten
 23   days after this Motion for Remand had been resolved (see Exhibit D). Weinstein has now
 24   filed a Notice of Appearance and a Consent to removal on April 18, 2019 (Docket #20
 25   and 21), 57 days after Defendant Weinstein was served with the filed FAC.
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  1          2. Argument
  2          Although, Plaintiff concedes that her pleading of 28 USC §1591 and §1595 in the
  3   First Amended Complaint does provide Subject Matter Jurisdiction for Removal, she also
  4   asserts that the Notice of Removal is defective on the consent issue as well as being
  5   untimely.
  6          There is a circuit split on the impact of the requirement for consent of all served
  7   defendants. In Proctor v. Vishay Intertechnology 584 F.3d 1208, 1224 (9th Cir. 2009), the
  8   Ninth Circuit followed the Sixth Circuit in allowing a single attorney filing a timely
  9   Notice of Removal to aver consent from all other defendants while noting that the Fifth,
 10   Seventh and Eighth Circuits require a separate timely filed consent from each Defendant.
 11   Subsequently, in 2012, the Second Circuit also declared that a separate consent must be
 12   provided by each Defendant within the 30 day window, Pietrangelo v. Alvas Corp., 686
 13   F.3d 62, 66 (2d Cir.2012). Here, Defendant Four Seasons removed without obtaining
 14   consent from Harvey Weinstein and without even asserting consent, thus rendering the
 15   Notice of Removal defective in addition to being untimely.
 16          The Ninth Circuit has allowed cure of the consent defect as long as consent is
 17   provided before judgment, Destifino v. Reiswig 630 F.3d 952 (2011), citing to Soliman v.
 18   Philip Morris Inc., 311 F.3d 966, 970 (9th Cir. 2002). However, in Destifino, this issue
 19   was not raised by Plaintiff until the Eastern District of California had expended
 20   considerable time and effort adjudicating the case. Here, Four Seasons filed its Motion for
 21   Removal at 4:30 pm Friday March 22nd and Plaintiff has filed the Motion for Remand at
 22   8:15 in morning of Monday March 25th, effectively before 30 minutes of Court time had
 23   elapsed since the Notice of Removal was filed and before the case had been assigned to
 24   any judge.
 25          It cannot be meaningless that strict interpretation of 28 USC §1446 in favor of
 26   remand is required:
 27
         The removal statute is “strictly construe[d] ... against removal jurisdiction.” Gaus v.
 28      Miles, Inc., 980 F.2d 564, 566 (9th Cir.1992) (per curiam). “Where doubt regarding
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                    PLAINTIFF’S SUPPLEMENTAL BRIEF AS TO CONSENT FOR REMOVAL
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  1      the right to removal exists, a case should be remanded to state court.” Matheson v.
         Progressive Specialty Ins. Co., 319 F.3d 1089, 1090 (9th Cir.2003).
  2
      Anderson Plant LLC v. Batzer Construction 2015 WL 4572294 (ND-Cal 2015).
  3
             The statute is unambiguous:
  4
  5      (2)(A) When a civil action is removed solely under section 1441(a), all defendants
         who have been properly joined and served must join in or consent to the removal of
  6      the action.
  7   28 USC §1446(b)(2)(A). The word “when” here as to “when a civil action is removed”
  8   clearly refers to the time and date of removal. It then goes on to state “must” as to “all
  9   defendants who have been properly joined and served must join in consent.” It is wholly
 10   unambiguous that the consent must be obtained when the civil action is removed, and it is
 11   improper for the Court to substitute an alternate statute stating for instance “after a civil
 12   action is filed” or “eventually.” It is clear and beyond doubt that “When” here refers to the
 13   time of filing.
 14          For instance, if this were not the case, a Court could spend two years issuing a
 15   series of complex published decisions in a matter only to learn just before judgment that
 16   one of the defendants refused to consent. At that time, it will be established that the US
 17   District Court never had jurisdiction and the entire two years of work was wasted and of
 18   no application to the matter, which would then need to be remanded to start over.
 19          Then Ninth Circuit’s ruling in Destifino should not be applied under the conditions
 20   of this case and cannot be held to override Gaus as to strict interpretation. The fact that
 21   Weinstein has now given consent more than 30 days after he was served with the First
 22   Amended Complaint is insufficient to defeat the Motion for Remand. Should the Court
 23   feel obligated to follow Destifino over Gaus in this, ruling, Plaintiff asks the Court to
 24   simultaneously consider Certification for Interlocutory Appeal before proceeding with a
 25   long complex litigation, extraordinarily stressful for Paz De La Huerta in that it includes
 26   credible allegations of rape and intentional humiliation against late consenting defendant
 27   Harvey Weinstein, with enormous public attention, only to learn that the entire litigation
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                        PLAINTIFF’S SUPPLEMENTAL BRIEF AS TO CONSENT FOR REMOVAL
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  1   was conducted with no jurisdiction if the challenge to removal is subsequently successful.
  2          Failure to obtain consent from all defendants has been held to be fatal to a removal,
  3   Hess v Great Atlantic & Pacific Tea Company, Inc. 520 F.Supp. 373 (ND-ILL 1981)
  4   (where a defendant failed to give consent to removal because it was not yet prepared to
  5   appear). Even more to the point, if Four Seasons succeeds in a Motion to Dismiss, so that
  6   the case continues against only Defendant Harvey Weinstein for his actions in New York,
  7   there is a high probability the case would be transferred to SD-NY where the sexual
  8   assaults took place, and 2nd Circuit law would then apply. Plaintiff advances that the Court
  9   should therefore rely on Bedminster Financial Group Ltd. v. Umami Sustainable Seafood
 10   Inc. 2013 WL1234958 SD-NY 2013 for guidance, rather than looking to Ninth Circuit
 11   law where a Circuit split affects rulings on remand for lack of consents at the time of
 12   removal.
 13          In Bedminster, the court first points out that the burden of proof for establishing
 14   that the Removal is not defective falls upon the party filing the Notice of Removal when
 15   there is a Motion for Remand filed by the Plaintiff, Goel v. Ramachandran, 823
 16   F.Supp.2d 206, 210 (SD-NY 2003). The decision in the current matter is therefore
 17   mandated in favor of remand:
 18
         In this Circuit, however, district courts “have consistently interpreted the statute as
 19      requiring that all defendants consent to removal within the statutory thirty-day period,
         a requirement known as the rule of unanimity.” Pietrangelo v. Alvas Corp., 686 F.3d
 20      62, 66 (2d Cir.2012)
 21   Bedminster at *5.
 22          If this Court adheres to the Ninth Circuit’s strained logic on late cure of consent to
 23   removal, and denies the Motion for Remand, then the issue of any success by the
 24   Removing party – Four Seasons – in obtaining dismissal will render the case remandable
 25   later in the litigation. However, at that point, Plaintiff’s 30 day window to file a Motion
 26   for Remand will have elapsed thereby unfairly prejudicing Plaintiff.
 27          Although Weinstein has filed a consent to removal on April 18th, it is far past 30
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                    PLAINTIFF’S SUPPLEMENTAL BRIEF AS TO CONSENT FOR REMOVAL
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  1   days from the date it was served with the First Amended Complaint.
  2         For the reasons stated above, Plaintiff asks again that the Court find the Motion for
  3   Removal to be defective and to remand the case to California Superior Court.
  4
  5   Date: April 18, 2019
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 10
 11                                         Aaron G. Filler, Esq.
                                            Chanel Katiraie, Esq.
 12
                                            TENSOR LAW PC
 13                                         Attorneys for Plaintiff,
 14                                         PAZ DE LA HUERTA

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                   PLAINTIFF’S SUPPLEMENTAL BRIEF AS TO CONSENT FOR REMOVAL
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  1
                                           PROOF OF SERVICE
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                   US DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
  3
              I am employed in the County of Los Angeles, State of California. I am over the age of 18
  4   and not a party to the within action; my business address is 2716 Ocean Park Blvd, #3082, Santa
      Monica, CA 90405.
  5           On April 19, 2019 I served the foregoing document(s) described as
               PLAINTIFF’S SUPPLEMENTAL BRIEF AS TO CONSENT FOR REMOVAL
  6   on interested parties in this action by placing a true and correct copy thereof enclosed in a sealed
  7   envelope addressed as follows:
                                       SEE ATTACHED SERVICE LIST
  8
      ¨      (BY MAIL) I deposited such envelope(s) in the mail at Los Angeles, California. The
  9          envelope was mailed with postage thereon fully prepaid. I am “readily familiar” with the
             firm’s practice of collection and processing correspondence for mailing. Under that
 10          practice it would be deposited with U.S. postal service on that same day with postage
             thereon fully prepaid at Los Angeles, California in the ordinary course of business. I am
 11          aware that on motion of the party served, service is presumed invalid if postal cancellation
             date or postage meter date is more than one day after date of deposit for mailing in
 12          affidavit.
      ¨      (BY OVERNIGHT DELIVERY) I placed said documents in envelope(s) for collection
 13          following ordinary business practices, at the business offices of TENSOR LAW, P.C., and
             addressed as shown on the attached service list, for collection and delivery to a courier
 14          authorized by _FEDERAL EXPRESS to receive said documents, with delivery fees
             provided for. I am readily familiar with the practices of TENSOR LAW P.C., for
 15          collection and processing of documents for overnight delivery, and said envelope(s) will
             be deposited for receipt by FEDERAL EXPRESS on said date in the ordinary course of
 16          business as to parties not ECF-registered.
 17   ý      (BY THE COURT'S ECF SYSTEM) I caused each such document(s) to be transmitted
             electronically by posting such document electronically to the ECF website of the United
 18          States District Court for the Central District of California, Western Division on all ECF-
             registered parties in the action.
 19   ¨      (BY PERSONAL SERVICE) I delivered such envelope(s) by hand to the offices of the
             addressee(s).
 20
      ý      (State)     I declare under penalty of perjury under the laws of the State of California and
 21                      the United States of America that the above is true and correct.
      ý      (Federal) I declare that I am employed in the office of a member of the bar of this court at
 22                      whose direction the service was made. I declare under penalty of perjury that
                         the above is true and correct.
 23
 24   Executed on April 19, 2019 at Santa Monica, California
 25
 26   Jodean Petersen
 27   Type or Print Name
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                     PLAINTIFF’S SUPPLEMENTAL BRIEF AS TO CONSENT FOR REMOVAL
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  1                    PAZ DE LA HUERTA v. HARVEY WEINSTEIN, ET AL
  2               US DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                              SERVICE LIST
  3
      Carol Baidas, Esq.
  4   Philip K. Schrieffer, Esq.                        Attorneys for Defendants:
      P.K. SCHRIEFFER LLP
  5   100 North Barranca Street, Suite 1100               THE FOUR SEASONS HOTELS
      West Covina, CA 91791                                 LTD
  6   Phone: (626) 373-2444                               BURTON WAY HOTELS LTD
      Facsimile: (626) 974-8403                           BURTON WAY HOTELS LLC
  7
      pks@pksllp.com
  8   cab@pksllp.com

  9   Phyllis Kupferstein
      KUPFERSTEIN MANUEL LLP                            Attorneys for Defendant:
 10   865 South Figueroa Street, Suite 3338
 11   Los Angeles, California 90017                       HARVEY WEINSTEIN
      213-988-7531 main
 12   213-988-7532 fax
      pk@kupfersteinmanuel.com
 13
 14   /S/ Aaron G. Filler
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                     PLAINTIFF’S SUPPLEMENTAL BRIEF AS TO CONSENT FOR REMOVAL
